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IN THE UNITED STATES DISTRICT C()URT
FOR THE DISTRICT ()F MARYLAND

 

United States of _America "‘
v. * Criminal Case No. CCB-18-0276
])ARRYL DE SOUSA *
**i::'nl:*
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REGULAR SENTENCING ORDER 133 §§
7 L;?£Z» 73 e:.;»
(l) On or before 105/2019 (m)t more than 40 days from the date ofthc`s,arder) abc §§ `T; §;3';»,
.»f (J:t/: g \” / {T\
Probation Offlcer shall provide the initial draft of the presentence report to counsel for he Defericl’antrfor jr §
‘":f“».~.» as fig
review with the Defendant. If the Defendant` is in pretrial detention defense counsel may‘not piévjd_e aj m ./?aj`
-'_;.`),/ fn ¢" ,,r;¢
c"‘ '“\ *`".
copy of the recommendations section of the presentence report to the Defendant m advance Fodi`_;meeting to€"' 0
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review the presentence report, and may not leave the recommendations section of the presentence report
with the lDefendant once the review has taken place. The Probation Officer shall also provide the initial
draft of the presentence report to counsel for the Government.

(2) On or before 2/8/2019 (m)t less than 14 days from date in paragraph I), counsel shall

submit, in writing, to the Probation Offrcer and opposing counsel, any objections to any material

_ information, sentencing classifications, advisory sentencing guideline ranges, or policy statements

contained in or omitted from the repor't.

(3) After receiving counsel’s objections, the Probation Officer shall conduct any necessary
further investigation and may require counsel for both parties to meet with the Probation Officer to
discuss unresolved factual and legal issues. The Probation Officer shall make any revisions to the
presentence report deemed proper, and, in the event that any objections made by counsel remain
unresolved, the Probation Officer shall prepare an addendum setting forth those objections and any
comment thereon.

(4) On or before 2/]9/2019 (nat less than 11 days from date in paragraph 2), the Probation

Offlcer shall file the report (and any revisions and addendum thereto) through CMfECF.

Senlencing Guidelincs Order - Regular (Rev. 09/2017)

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(5) If counsel for either party intends to call any Witnesses at the sentencing hearing, counsel

shall submit, in writing, to the Court and opposing counsel, on or before

7,"(// $f' 47 (not less than 14 days before sentencing), a statement containing (a)
the names of the witnesses, (b) a synopsis of their anticipated testimony, and (c) an estimate of the
anticipated length of the hearing.

(6) Sentencing memoranda are not required unless a party intends to request a sentence
outside the advisory guidelines range on the basis of a non-guideline factor. If submitted, they shall be
filed With the Clerk and a copy delivered to chambers on or before

7 17 // S,//i (not less than 14 days before sentencing). Opposing or responding

memoranda are not required If submitted, they shall be delivered to chambers on or before

 

3 }7’// 7 (not less than 7 days before sentencing). Copies of all memoranda must be

sent to the Probation Officer.

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(7) Sentencing shall be on /O&¢({& ?\{7 at § /§ gm

d (8) The presentence report, any revisions, and any proposed findings made by the Probation

 

Officer in the addendum to the report shall constitute the tentative findings of the Court under section
6Al .3 ofthe sentencing guidelines ln resolving disputed issues of fact, the Court may consider any
reliable information presented by the Probation Officer, the Defendant, or the Government, and the Court
may issue its own tentative or final findings at any time before or during the sentencing hearing .

(9) Nothing in this Order requires the disclosure of any portions of the presentence report

that are not disclosable under F ederal Rules of Criminal Procedure 32.

becember-is, 2018 /S/ /)@§

D`ate ' Catherine C. Blake
` United States District Judge

Sentericing Guidelines Ordcr - Regular (Rev, 09/20|7)

